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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK

      SIGNIFY NORTH AMERICA CORPORATION
      and SIGNIFY HOLDING B.V.
                                               Civil Action No. 2:19-cv-06125-JMA-SIL
                             Plaintiffs,

                             v.                JURY TRIAL DEMANDED
      SATCO PRODUCTS, INC.

                             Defendant.


                 SIGNIFY NORTH AMERICA CORPORATION AND
                           SIGNIFY HOLDING B.V.’S
                     REPLY CLAIM CONSTRUCTION BRIEF
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            2      U.S. Patent No. 7,038,399
            3      U.S. Patent No. 7,256,554
            4      U.S. Patent No. 6,972,525
            5      U.S. Patent No. 8,070,328
            6      U.S. Patent No. 7,348,604
            7      U.S. Patent No. 7,358,929
            8      Declaration of Michael Gershowitz
            9      Declaration of Regan Zane, Ph.D.
           10      William R. Blood, MECL System Design Handbook (4th ed. 1988)
           11      Illustrated Dictionary of Elec. 145 (Stan Gibilisco ed., 8th ed. 2001)
           12      McGraw Hill Dictionary of Sci. and Tech. Terms 159, 453, 1560 (Sybil P.
                   Parker ed., 5th ed. 1994)
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                   Disassembly of a Thermoset, 34 J. of Polymer Sci.: Part A: Polymer
                   Chemistry 249-260 (1996)
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                   https://en.wikipedia.org/wiki/Flyback_converter (last visited Nov. 20, 2020)
           19      Buck Converter, Wikipedia, https://en.wikipedia.org/wiki/Buck_converter
                   (last visited Nov. 20, 2020)
           20      Transcript of the deposition of Dr. John Curran dated December 29, 2021
                   (“Curran Tr.”)
           21      Transcript of the deposition of Dr. Peter Shackle dated December 30, 2021
                   (“Shackle Tr.”)
           22      Declaration of Peter Shackle, Ph.D. in Support of Petition for Inter Partes
                   Review of U.S. Patent No. 7,038,399, Case IPR2018-00790, dated March
                   19, 2018
           23      U.S. Pub. No. 2003/0058650 (“Shih ’650”)
           24      ’604 Patent Prosecution History, Oct. 31, 2007 Notice of Allowance
           25      U.S. 5,682,306 (“the ’306 Patent”)

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      Exhibit numbering continues from the exhibits attached to Signify’s Opening Claim
     Construction Brief.


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      Exhibit                                   Reference
        26    ’525 Patent Prosecution History, Applicant’s Amendment and Arguments of
              June 30, 2005
        27    U.S. 5,736,881 (“Ortiz”)
        28    Expert Report of Peter W. Shackle, Ph.D. Regarding Invalidity, In the
              Matter of Certain LED Lighting Devices, LED Power Supplies, and
              Components Thereof, Inv. No. 337-TA-1081 (U.S.I.T.C.), SATCO-SIG-
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                                         GLOSSARY

             Term                                        Definition
      Signify or Plaintiff   Plaintiffs Signify North America Corporation and Signify
                             Holding B.V.
      Satco or Defendant     Defendant Satco Products, Inc.
      ’138 Patent            U.S. Patent No. 7,352,138
      ’399 Patent            U.S. Patent No. 7,038,399
      ’554 Patent            U.S. Patent No. 7,256,554
      ’525 Patent            U.S. Patent No. 6,972,525
      ’328 Patent            U.S. Patent No. 8,070,328
      ’604 Patent            U.S. Patent No. 7,348,604
      ’929 Patent            U.S. Patent No. 7,358,929
      The Patents-in-Suit    U.S. Patent No. 7,352,138; U.S. Patent No. 7,038,399; U.S.
                             Patent No. 7,256,554; U.S. Patent No. 6,972,525; U.S. Patent
                             No. 8,070,328; U.S. Patent No. 7,348,604; U.S. Patent No.
                             7,358,929
      POSITA                 Person of ordinary skill in the art
      Op. br.                Signify North America Corporation and Signify Holding B.V.’s
                             Opening Claim Construction Brief, Dkt. No. 109
      Resp. br.              Satco’s Responsive Claim Construction Brief, Dkt. No. 116
      Ortiz                  U.S. 5,736,881




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         I.      INTRODUCTION

         Satco’s unsupported constructions and improper indefiniteness arguments should be

  rejected. Signify thus respectfully requests that the Court adopt its proposed constructions and

  details the deficiencies in Satco’s claim constructions below.

         II.     THE ʼ328 PATENT

                 A.       “heatsink / heat sink”

         Satco’s response makes plain that the terms “heatsink” and “heat sink” require no

  construction and should be given their plain and ordinary meaning. Indeed, Satco and its expert

  admit that “‘heat sink’ is a term of art whose meaning is well-understood by a POSITA.” Resp. br.

  at 4; Ex. 20, 62:7-11. Even Satco’s own expert, in past litigations, has not found it necessary to

  define the term heat sink because it is a term that a POSITA readily understands. See Ex. 20,

  102:24-104-7; Ex. 29. The term thus needs no construction. See O2 Micro Int’l Ltd. v. Beyond

  Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008). This is especially true given that

  nothing in the intrinsic record evidences an intent to deviate from the plain meaning. ActiveVideo

  Networks, Inc. v. Verizon Commc’ns., Inc., 694 F.3d 1312, 1326 (Fed. Cir. 2012) (rejecting

  argument that term must be construed and stating that “[t]he district court did not err in concluding

  that these terms have plain meanings that do not require additional construction. [Plaintiff’s]

  proposed construction erroneously reads limitations into the claims and the district court properly

  rejected that construction and resolved the dispute between the parties.”).

         In violation of basic claim construction principles, Satco improperly imports limitations

  into the claim. Satco first tries to limit the heat sink to a “heat conductive device.” However,

  nothing in the intrinsic record limits the heat sink to any specific material or device. Satco cites to

  a single paragraph and embodiment in the specification for support. Resp. br. at 5. However, “[i]t

  is well established that claims are not limited to preferred embodiments, unless the specification

                                                    1
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  clearly indicates otherwise.” WesternGeco LLC v. ION Geophysical Corp., 889 F.3d 1308, 1323-

  24 (Fed. Cir. 2018). There is no such limiting language in the specification. Satco’s argument that

  Signify’s construction is too broad because the heat sink could include a person’s hand is plainly

  ridiculous. In the context of the claims—which are LED downlights—a POSITA would never

  include a person’s hand as a “light” component.

         Further, Satco’s inclusion of the language “heat-conductive device” does not provide any

  clarity since, as Satco’s expert admits, it would only lead to further disputes about what a “heat-

  conductive device” is. See Ex. 20, 46:12-13, 51:17-52:1 (admitting that he was “not sure how to

  answer” when a device would not be considered heat conductive). Such constructions are

  improper. See U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (noting

  that one of the purposes of claim construction is “to clarify and when necessary to explain what

  the patentee covered by the claims”) (emphasis added).

         The rest of Satco’s argument relies exclusively on extrinsic evidence. See Resp. br. at 5-7.

  However, Satco’s heavy reliance on extrinsic evidence is misplaced. See Phillips v. AWH Corp.,

  415 F.3d 1303, 1319 (Fed. Cir. 2005).

         The same flaws exist with Satco’s complaint that “Signify’s construction does not specify

  the sole purpose of the heat sink.” Resp. br. at 6. Satco’s construction adds language that the heat

  sink “dissipates unwanted heat and reduces heat in the LED downlight fixture.” However, nothing

  in the intrinsic record so-limits a heat sink, rendering its inclusion improper. Ecolab, Inc. v.

  Envirochem, Inc., 264 F.3d 1358, 1367 (Fed. Cir. 2001) (“Where the function is not recited in the

  claim itself by the patentee, we do not import such a limitation.”); see also Ex. 20, 58:5-22 (stating

  that there is “no description” in the ’328 Patent regarding the function of a heatsink). Thus, because

  the term is admittedly well-known to a POSITA, and Satco has shown no evidence that the



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  patentees redefined this term, “heat sink” and “heatsink” require no construction.

                 B.      “preselected spaced distance”

         “Preselected spaced distance” should also be given its plain and ordinary meaning. Satco

  argues that without construction the term would be “ambiguous” and that Signify’s construction

  would render the term “superfluous.” See Resp. br. at 7. If anything, Satco’s proposed

  construction—not Signify’s—adds ambiguity; Satco’s expert admitted that the phrase “optimal

  light cut-off” from Satco’s proposed construction is entirely subjective and its interpretation may

  vary from one person to the next. Ex. 20, 110:15-111:15.

         Additionally, courts have routinely held that this phrase would be easily understood by a

  POSITA and requires no construction. See Lamoureux v. AnazaoHealth Corp., 669 F. Supp. 2d

  227, 251-52 (D. Conn. 2009) (“The Court has reviewed countless number of patent cases involving

  the phrase ‘predetermined distance,’ and in the vast majority of cases, no construction of this

  phrase was even required.”). For the diffuser to be positioned a “preselected spaced distance,” the

  distance must simply be chosen in advance and comport with the rest of the requirements of the

  claim. See IGT v. Bally Gaming Int'l, Inc., 659 F.3d 1109, 1118 (Fed. Cir. 2011) (holding that

  district court correctly construed “predetermined event” to mean “chosen in advance” and rejecting

  defendant’s argument that this read predetermined out of the claim). Satco’s contention that its

  construction is necessary to “eliminate ambiguity” and “provide the phrase with meaning” is

  simply wrong; any lay person can understand the phrase “preselected spaced distance.”

                 C.      “one of above a lowermost edge reflector or beneath said lowermost
                         edge of said reflector”

         The term “one of above a lowermost edge reflector or beneath said lowermost edge of said

  reflector” has a definite meaning. Satco argues that a POSITA would not understand what

  “lowermost edge reflector” means. Resp. br. at 9. However, read in the context of the rest of claim,


                                                   3
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  a POSITA would be left with no doubt as to what the claim was referring to. See Ex. 8 at ¶¶ 63-

  68; Ex. 20, 118:11-120:20. Thus, contrary to Satco’s assertion, Signify is not asking the Court to

  correct anything. The claim, as written, when read in light of the rest of the claim and specification,

  clearly informs a POSITA of the claimed invention with reasonable certainty.

          Moreover, to the extent that the Court feels obliged to add language into the claim, this is

  not impermissible, unlike Satco claims. See CBT Flint Partners, LLC v. Return Path, Inc., 654

  F.3d 1353, 1358 (Fed. Cir. 2011) (“It is well-settled law that, in a patent infringement suit, a district

  court may correct an obvious error in a patent claim.”); Roche Diagnostics Gmbh v. Enzo Biochem,

  No. 04 Civ. 4046, 2017 U.S. Dist. LEXIS 229491, at *53-54 (S.D.N.Y. Oct. 2, 2017) (correcting

  claim language because the mistake was “a fairly minor clerical error” and viewed from the

  standpoint of a POSITA, was not subject to reasonable debate). Thus, even if the Court finds

  judicial correction necessary to render the claim not indefinite, it is clearly merited here.

          III.    THE ʼ399 AND ʼ138 PATENTS

                  A.      “Controller”

          “Controller” is not a means-plus-function term. The central dispute between the parties

  is whether the class of structures coming within the term “controller” is too broad. 2 Satco argues

  that the asserted claims’ requirement of a “controller” is broad enough to be analogous to a generic

  computer to implement an abstract idea, like that at issue in the Alice case regarding patent

  ineligibility. See Resp. br. at 27-28 (citing Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208, 224,

  (2014)). Satco’s citation to abstract-idea case law is inapposite as that invalidity inquiry is a wholly

  separate question not at issue here; no party has suggested that the structures claimed in the ’399




  2
   The parties appear to generally agree that a controller is a device that controls voltage or current.
  See Op. Br. at 16; resp. br. at 30; Shackle Decl. at ¶¶ 47, 52; Ex. L at 34:23-25.


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  and ’138 Patents are invalid as abstract ideas. Cf. Lifted Ltd., LLC v. Novelty Inc., No. 16-cv-03135,

  2020 U.S. Dist. LEXIS 92102, at *4 (D. Colo. May 27, 2020) (“[C]laim construction is generally

  ‘not the proper avenue to pursue invalidity issues’”); Spotless Enters., Inc. v. A&E Prods. Grp.

  L.P., 294 F. Supp. 2d 322, 344-45 (E.D.N.Y. 2003).3

         The issue to be decided here is whether controller refers to a class of structures. The size

  of that class, however, is irrelevant because “breadth is not indefiniteness.” See, e.g., BASF Corp.

  v. Johnson Matthey, Inc., 875 F.3d 1360, 1367 (Fed. Cir. 2017); see also Skky, Inc. v. MindGeek,

  s.a.r.l., 859 F.3d 1014, 1019 (Fed. Cir. 2017) (“[I]t is sufficient if the claim term is used in common

  parlance or by persons of skill in the pertinent art to designate structure, even if the term covers a

  broad class of structures and even if the term identifies the structures by their function . . . .”).

  “What is important is not simply that [the term] is defined in terms of what it does, but that the

  term, as the name for structure, has a reasonably well understood meaning in the art.” Greenberg

  v. Ethicon Endo-Surgery, Inc., 91 F.3d 1580, 1583 (Fed. Cir. 1996).

         A POSITA would have understood that the term “controller” refers to a structural

  component. First, the experts here agree that the term “controller” connotes a class of structures,

  including specific hardware like an LED driver, Ex. 21, 42:9-25, 82:6-17. Further, the specification

  confirms and narrows that class of structures through example components that might comprise

  the controller, such as “a rectifier,” “a low pass (i.e., high frequency) filter,” a “DC converter,”


  3
    Regardless, the term “controller” is directed to specific circuitry to perform particular functions
  whereby it “matters . . . by what process or machinery the result is accomplished,” thus taking the
  claims outside the realm of patent-ineligible abstract ideas. See McRO, Inc. v. Bandai Namco
  Games Am. Inc., 837 F.3d 1299, 1311-12 (Fed. Cir. 2016); see also Id Image Sensing Llc v.
  Omnivision Techs., No. 20-136-RGA, 2020 U.S. Dist. LEXIS 220189, at *15 (D. Del. Nov. 24,
  2020); Ex. 21, 199:13-18 (Satco’s expert, Dr. Shackle, agreeing that “using a controller for
  dimming as described [in the ’399 Patent] is an example of one specific technical solution to the
  problem of dimming an LED light based on an AC dimmer signal.”); resp. br. at 27 (Satco arguing
  that “abstract ideas are not patent-eligible unless they are tied to a specific technical solution.”).


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  and an “adjustment circuit.” It does not matter if that class of structures is large; all that matters

  is whether “controller” refers to a structure, and it clearly does. See Ex. 2 at 12:50-67, 14:8-18; Ex.

  9 at ¶ 47; see also Ex. 21, 87:25-88:7 (Satco’s expert, Dr. Shackle, agreeing that “even though the

  power circuitry could be implemented with hundreds of different types of rectifiers, hundreds of

  different types of low-pass filters, and hundreds of different types of DC converters,” “claim 18

  still provides sufficient structure” where it recites those components (emphasis added)); id. at

  208:6-16, 219:6-23 (Dr. Shackle agreeing that, for a different patent, the term “LED power

  controller” would be understood by a POSITA as a structural term not subject to means-plus-

  function treatment); id., 211:3-7, 212:4-9, 214:24-215:3 (Dr. Shackle agreeing that, in the context

  of a different patent, a POSITA would have known how to build an LED drive controller without

  any specific circuit-level instructions).

          Because the parties agree that the term “controller” connotes structure to a POSITA, the

  term is not a means-plus-function term subject to § 112, ¶ 6. See Skky, Inc., 859 F.3d at 1019;

  Sound View Innovations, LLC v. Facebook, Inc., No. 16-cv-116, 2017 U.S. Dist. LEXIS 76412, at

  *11 (D. Del. May 19, 2017). The Court should construe the term according to its plain and ordinary

  meaning.

          In the alternative, the appropriate structure for “controller” includes Figures 3, 5,

  and 7. If the Court determines that “controller” is a means-plus-function term, it should be

  accorded all of its disclosed structures in the specification, including the components illustrated in

  Figures 3, 5, and 7, as well as the exemplary embodiments of those components as shown in

  Figures 4, 6, 8, and 9, 10, or 11 as well as the accompanying descriptions in the specification and




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  structural equivalents thereof.4

          The central dispute between the parties over corresponding structure is whether the block

  diagrams of Figures 3, 5, and 7 constitute sufficient structure to be linked to the claimed function

  for “controller.” Satco argues that those Figures are not specific enough. 5 See Resp. br. at 32. But

  “[w]hile the specification must contain structure linked to claimed means, this is not a high bar:

  [a]ll one needs to do . . . is to recite some structure corresponding to the means in the specification,

  . . . , so that one can readily ascertain what the claim means.” Biomedino, LLC v. Waters Techs.

  Corp., 490 F.3d 946, 950 (Fed. Cir. 2007). Further, “[w]hen multiple embodiments in the

  specification correspond to the claimed function, proper application of § 112, [paragraph 6]

  generally reads the claim element to embrace each of those embodiments.” Micro Chem., Inc. v.

  Great Plains Chem. Co., 194 F.3d 1250, 1258 (Fed. Cir. 1999) (emphasis added).

          Satco argues that Texas Digital supports its argument that Figures 3 and 5 should not be

  included in the structure for “controller” because Texas Digital stated that a high-level diagram

  there “serve[d] merely as overview for introducing and explaining [another Figure, Fig. 4, and] the

  corresponding structures must necessarily be found in Fig. 4.” Resp. br. at 32. But Satco


  4
    As explained in Signify’s opening brief, Figure 3 is structure for the non-varying claims but not
  the dimmable claims, as Figure 3 does not include an adjustment circuit. Op. br. at 17-18. On the
  other hand, Figure 5 is appropriately linked to the function of the non-varying claims, contrary to
  Satco’s arguments. See Resp. br. at 31-32. The specification indicates that Figure 5 “includes an
  additional adjustment circuit 208 that further conditions a signal output from the DC converter
  402.” Ex. 2, 14:11-14. But nothing in the specification indicates that the adjustment circuit 208
  must further condition the signal output from the DC converter 402. Rather, the adjustment circuit
  may be unused, as in the non-varying claims. Only Signify’s proposal accords all disclosed
  structures to the term.
  5
    Satco is unclear as to whether it disagrees that the block diagram of Figure 7 constitutes sufficient
  structure for the claimed function for “controller.” Satco includes Figure 7 in the identified
  structure for the “dimming controller” claims identified in its Appendix 2, but Satco also argues
  in its brief that Figure 7 “is a block diagram that does not identify sufficient structure.” See Resp.
  br. at App. 2, 2-10; id. at 32. To the extent that Satco includes Figure 7 as appropriate structure but
  not Figures 3 and 5, Satco’s position is irreconcilably inconsistent.


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  mischaracterizes the holding of Texas Digital. In fact, Texas Digital held that “the district court’s

  identification of the corresponding structure was incomplete.” Tex. Digit. Sys. v. Telegenix, Inc.,

  308 F.3d 1193, 1212 (Fed. Cir. 2002) (emphasis added). Further, not only did the corresponding

  structure include the high-level diagram and Fig. 4 but also the structure “include[d . . .] the

  written description accompanying th[ese] Figures.” Id. (emphasis added).6

         The Federal Circuit and other courts have similarly held that high-level block diagrams

  can provide appropriate structure for means-plus-function terms. See, e.g., S3 Inc. v. nVIDIA

  Corp., 259 F.3d 1364 (Fed. Cir. 2001); Sipco, LLC v. Abb, Inc., No. 11-CV-0048, 2012 U.S.

  Dist. LEXIS 106659 (E.D. Tex. July 30, 2012); Uniram Tech., Inc. v. Monolithic Sys. Tech., Inc.,

  No. C-04-1268, 2006 U.S. Dist. LEXIS 21661, at *41-43 (N.D. Cal. Mar. 30, 2006).




  6
    Satco’s citation to the non-precedential Bennett case is inapposite. See resp. br. at 33, 36 (citing
  Bennett Marine, Inc. v. Lenco Marine, Inc., 549 Fed. Appx. 947 (Fed. Cir. 2013)). There, the
  Federal Circuit held that disclosure of only a specific circuit does not expand structures to general
  circuits absent evidence that a general class of structures was known. Bennett, 549 Fed. Appx. at
  954-55. That holding is inapplicable here where the experts agree that a general class of structures
  for the claimed “controller” was well-known. See, e.g., Ex. 21, 42:9-25, 82:6-17; Ex. 9, ¶¶ 43-64;
  Ex. L, 68:22-69:8. The specification further discloses Figures 3, 5, and 7 as embodiments of the
  claimed “controller,” each of which would perform the claimed function.
  .



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         For example, in S3, the Federal Circuit held that the “means . . . for selectively receiving”

  was “readily implemented from the description in the specification,” i.e., from Figure 2, because

  the evidence showed that “a selector is of well known electronic structure and performs a common

  electronic function.” S3, 259 F.3d at 1371. Similarly, in Sipco, the Court held that the structure

  corresponding to “means for receiving each of the original data messages and the repeated data

  messages” was those components of the block diagram shown in Figure 4, reproduced and

  annotated above. Sipco, 2012 U.S. Dist. LEXIS 106659, at *83-84. The court held that “the

  specification describe[d] in detail the structure of a site controller” where it “describ[ed] a block

  diagram of a site controller” and “describ[ed] the components of the site controller.” Id.; see also

  Uniram Tech., Inc., 2006 U.S. Dist. LEXIS 21661, at *41-43.




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         Here, Figures 3, 5, and 7 above provide appropriate structure for the claimed “controller.”

  Like in S3, the evidence shows that a “controller” may be “readily implemented from the

  description in the specification,” i.e., from Figures 3, 5, and 7 at least and the accompanying

  description in the specification, where the evidence shows that a “controller” is “of well known

  electronic structure,” like an LED driver, and “performs a common electronic function.” See, e.g.,

  Ex. 9 at ¶¶ 43-64; Shackle Decl. at ¶ 45; Ex. 21, 42:9-25, 82:6-17.

         Moreover, the controllers illustrated in Figures 3, 5, and 7 consist of known structural

  components that both parties’ experts agree are well-known and would have been “readily

  implemented from the description in the specification.” See, e.g., S3, 259 F.3d at 1371; Ex. 9 at ¶

  58; Shackle Decl. at ¶¶ 113-121; Ex. 21, 38:7-14-17, 39:8-17, 73:10-25, 127:1-24, 87:25-88:7.

  Further, those components of the controllers illustrated in Figures 3, 5, and 7 are structural

  themselves and are not limited to the specific arrangements shown in Figures 4, 6 and 8, as Dr.

  Shackle admits. See Shackle Decl. at ¶¶ 113-117; Ex. 21, 59:29-24, 147:10-17, 149:13-25, 155:6-

  12.

         Finally and incredibly, Dr. Shackle admits that “power circuitry” as recited in Claims 18



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  and 21 is not a means-plus-function term because those claims recite a rectifier, low pass filter,

  and a DC converter. See Shackle Decl. at ¶¶ 78-84. That is, Dr. Shackle opines that “power

  circuitry” is generally a functional term, Shackle Decl. at ¶¶ 74-75, but when the claim recites that

  that power circuitry includes a rectifier, low pass filter, and a DC converter, without any other

  details, “power circuitry” then has sufficient structure. But if the mere recitation of a rectifier, a

  low pass filter, and a DC converter provides sufficient structure for “power circuitry,” then surely

  where Figures 3 and 5 show that exact circuitry, Figures 3 and 5 similarly provide sufficient

  structure for “controller.”. See Ex. 21, 90:5-11. For all of the reasons explained above, Figures 3,

  5, and 7 illustrate linked structures for the term “controller.”

                 B.      Method claim equivalents of “controller”

         The method claim equivalents of “controller” should not be governed by § 112, ¶ 6 for the

  same reasons described above. Similarly, should the term “controller” be construed as a means-

  plus-function term, Figures 3, 5, and 7 should be included in the disclosed structure for the reasons

  discussed above.

                 C.       “adjustment circuit”

         “Adjustment circuit” is not a means-plus-function term. Satco acknowledges that

  “adjustment circuit” refers to a known class of structures. See Resp. br. at 35. When unsuccessfully

  attempting to invalidate the ’399 Patent both before the U.S. Patent and Trademark Office and the

  U.S. International Trade Commission, Satco’s expert has opined that “adjustment circuits” were

  “well known and discussed throughout the art.”7 Ex. 28, ¶ 102; Ex. 22, ¶¶ 43-44. Consistent with




  7
   Dr. Shackle’s positions in this litigation to the contrary are simply not credible. During his
  deposition, he contended that a skilled artisan would have never heard of an adjustment circuit
  Ex. 21, 97:10-16, but in prior sworn testimony he stated unequivocally that “adjustment circuits
  were well-known and discussed throughout the art.” Ex. 28, ¶ 102. While Dr. Shackle now

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  his past testimony, he once again agrees with Signify that “adjustment circuits” include circuitry

  that adjusts power. Ex. 21, 127:1-24; Ex. 22, ¶ 43; Ex. 28, ¶ 102.

          Satco cites MTD Products Inc. v. Iancu, 933 F.3d 1336 (Fed. Cir. 2019) for the proposition

  that a term may not be structural where expert testimony shows that the term encompasses a “wide

  variety of structures.” Resp. br. at 35; MTD, 933 at 1339-40. But the expert in MTD opined that

  the term amounted to a “black box” that “does not bring to mind any specific structure” to a

  POSITA. MTD, 933 at 1339-40. Here, the parties agree and the evidence shows that “adjustment

  circuit” connotes a class of structures. See Resp. br. at 35; Ex. 21, 127:1-24; Ex. 22, ¶ 43; Ex. L at

  110:3-11. Because the parties agree that the term “adjustment circuit” connotes structure to a

  POSITA, the term is not a means-plus-function term subject to § 112, ¶ 6. See Skky, Inc., 859 F.3d

  at 1019; Sound View Innovations, 2017 U.S. Dist. LEXIS 76412, at *11. The Court should construe

  the term according to its plain and ordinary meaning.

          In the alternative, appropriate structure for “adjustment circuit.” Should the Court

  determine that the term “adjustment circuit” is a means-plus-function term, the Court should grant

  “adjustment circuit” all of its disclosed structures, including adjustment circuit 208 as illustrated

  in Figure 5, adjustment circuit 208 shown in the exemplary embodiment that is shown in Figure 6,

  and all descriptions in the specification, including the modified circuit of Figure 8 as described,

  and structural equivalents thereof. Ex. 2 at 19:5-9. As with “controller” above, there is no support

  for Satco’s exclusion of multiple disclosed structures from its proposal. Micro Chem., 194 F.3d at

  1258.

                 D.      “power circuitry”




  contends that his prior statements may have been “misleading,” Ex. 21, 132:20-133:1, his newly
  changed opinions cannot be reconciled with is prior testimony and merit no weight.


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          “Power circuitry” is not a means-plus-function term. Yet again, the parties agree that

  the term “power circuitry” connotes structure; the dispute is whether that class of structures is “too

  broad.” See Resp. br. at 37. Courts have consistently held that the term “circuitry” connotes

  structure such that it is not subject to means-plus-function treatment. See, e.g., Phenix Longhorn,

  LLC v. Wistron Corp., No. 17-cv-00711, 2019 U.S. Dist. LEXIS 103786, at *43 (E.D. Tex. June

  21, 2019) (“The Federal Circuit has repeatedly and consistently found that, in the electronic arts,

  ‘circuit’ or ‘circuitry’ terms connote sufficient structure to avoid means-plus-function claiming.”).

  The addition of the word “power” before “circuitry” only reinforces that the term connotes

  structure.

          Dr. Shackle admits that “power circuitry” as recited in Claims 18 and 21 is not a means-

  plus-function term because those claims recite a rectifier, low pass filter, and a DC converter. See

  Shackle Decl. at ¶¶ 78-84. Where “power circuitry” provides that same function in all claims that

  recite the term, Dkt. 94-1, at 33, 72, and the specification explains that the power circuitry may

  comprise these “well-known types of electrical components,” Ex. 21, 88:10-16, Satco is wrong in

  asserting that “power circuitry” is a means-plus-function term. The term should be accorded its

  plain and ordinary meaning, which is “power circuit components within the power processing path

  of a circuit.” See Ex. 9 at ¶¶ 67, 70; see also Ex. 21, 87:25-88:7.

          In the alternative, appropriate structure for “power circuitry.” If “power circuitry” is

  found to be a means-plus-function term, the Court should include the power circuitry as illustrated

  in Figures 3, 5, and 7 as well as the example circuit diagrams shown in Figures 4, 6 and 8. As with

  “controller” and “adjustment circuit” above, there is no support for Satco’s exclusion of the

  structures shown in Figures 3, 5, and 7, which are clearly linked to the function of “power

  circuitry.” Micro Chem., 194 F.3d at 1258. Each of Figures 3, 5, and 7 shows a combination of



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  known structural components, and the specification links those structures to the claimed function.

  Moreover, the specification makes clear that the power circuitry disclosed in the example circuit

  diagrams of Figures 4, 6, and 8 may be modified, consistent with the high-level illustrations of

  Figures 3, 5, and 7. Ex. 2 at 13:56-58, 19:4-12, 19:13-16. Further, Dr. Shackle agrees that the

  rectifier, low-pass filter, and DC converter of Figure 5 provide structure for the “power circuitry”

  of Claim 18. Ex. 21, 90:5-11. Where “power circuitry” provides the same function in all claims

  that recite the term, Satco’s position that Figure 5 does not provide sufficient structure is

  nonsensical.

                  E.      “alternating current (A.C.) power source that provides signals other
                          than a standard A.C. line voltage”

          Satco asks the Court to disregard the “‘heavy presumption’ that claim terms carry their full

  ordinary and customary meaning,” see Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323

  (Fed. Cir. 2003), and imports into the claim a negative limitation that finds no support in the intrinsic

  record. See Resp. br. at 39; Nanochem Sols. Inc. v. Global Green Prods., LLC, No. 10 C 5686,

  2013 U.S. Dist. LEXIS 13509, at *5 (N.D. Ill. Jan. 29, 2019) (“To construe the cited claims as

  containing a negative limitation should not be done without support in the specifications or file

  history.”) (citing Santarus, Inc. v. Par Pharm., Inc., 694 F.3d 1344, 1351 (Fed. Cir. 2012); Omega,

  334 F.3d at 1322-23). Rather than provide “a reason,” to exclude the plain scope of the claim, the

  specification supports that the claims should be entitled to their full scope.

          The specification starts with the assumption that the invention covers standard A.C. line

  voltage and then explains that it can also accommodate non-standard A.C. line voltage. See, e.g.,

  Ex. 2 10:30-42. The specification therefore indicates that the invention is intended to cover both

  standard and non-standard A.C. signals and provides no indication that the invention cannot utilize

  standard A.C. signals. Further, there is nothing in the specification to indicate that the claimed


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  A.C. dimmer circuit that provides the A.C. signal cannot output a standard A.C. line voltage as

  well. Indeed, a dimmer switch provides the ability to vary the average voltage anywhere from

  100% of the A.C. line voltage to less than 25%, and at 100%, the output signal would be the same

  as the standard A.C. line voltage. See Ex. 2 at 13:17-20. Satco’s expert, Dr. Shackle, agrees,

  acknowledging that an A.C. dimmer could output a standard A.C. signal, perhaps with some small

  amount of noise. See Ex. 21, 17:3-12; 140:25-141:3; 143:1-4. Thus, rather than supporting the

  importation of a negative claim limitation, the specification on the contrary confirms that the

  claims should be entitled to their full scope to include power sources capable of providing both

  standard and non-standard A.C. signals.

         Satco also argues that the prosecution history supports its construction, citing testimony

  from the hearing in IPR2015-01294. Resp. br. at 40-41. This testimony, however, was directed at

  distinguishing prior art because, as the U.S. PTO correctly agreed, the art did not disclose a

  controller configured to receive and provide power based on two or more A.C. signals other than

  a standard A.C. line voltage. IPR2015-01294, Paper 45 at 36:19-44:2. Nothing in the testimony

  suggests that the claimed controller cannot also provide power based on a standard A.C. line

  voltage. To invoke the concept of prosecution history disclaimer to statements made during IPR

  proceedings, “any such statements must ‘be both clear and unmistakable.’” Aylus Networks, Inc.

  v. Apple Inc., 856 F.3d 1353, 1361 (Fed. Cir. 2017). There is no such disclaimer here.

                 F.       “A.C. Dimmer Circuit” / “(A.C.) dimmer circuit / “alternating
                         current (A.C.) dimmer circuit”

         While Satco initially claims that there is no dispute about the meaning of these terms,

  (Resp. br. at 41), its arguments make clear that a dispute exists. Satco asserts that certain claims

  “do not require the signal from the dimmer to be an AC signal” (Resp. br. at 42), which is directly

  contradictory to Signify’s construction which requires that the “A.C. dimmer circuit” provide an


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  A.C. dimming signal and not a D.C. signal. Nothing in the claim language or the evidence suggests

  that the “power-related signal” from the “A.C. dimmer circuit” could be a D.C. signal or anything

  other than an AC signal. The specification is clear that an “A.C. dimmer circuit” is a dimmer circuit

  with an A.C. signal output, explaining that the purpose of the invention is to use A.C. power with

  LED-based light sources. See Ex. 2 at 9:4-16, 9:50-55. Indeed, in another portion of its brief, Satco

  agrees that the “inventions are intended to allow LED lights to operate based on the A.C. signal

  transmitted by a conventional TRIAC dimmer.” Resp. br. at 26. Even Satco’s expert agrees with

  the non-controversial proposition that A.C. dimmer circuits provide A.C. power and not D.C.

  power. Ex. 21, 16:21-17:2, 137:21-138:3.

         IV.     THE ’554 PATENT

                 A.       “without monitoring or regulating a first voltage or a first current”
                         and “without using any feedback information relating to the at least
                         one first LED”

         For the “without” terms, Satco imports negative limitations into the claims that find no

  support in the intrinsic record. See Omega, 334 F.3d at 1322-23. First, Satco seeks a negative

  limitation for “without monitoring or regulating a first voltage or a first current” that is only met

  “if and only if none of the four actions are performed.” Resp. br. at 41-42. But without a clear

  disclaimer in the intrinsic record, a negative limitation is improper. See Omega, 334 F.3d at 1322-

  23.

         Second, Satco injects the terms “directly or indirectly.” But Satco does not dispute that the

  specification does not use the terms “directly or indirectly” at all when discussing the limitations

  above. Satco says it seeks to “clarif[y]” the claim language, but its only support for doing so is a

  prior art Figure annotated by Satco. See Resp. br. at 44. Satco gives no explanation as to why its

  annotations to the prior art Figure indicate that the claims of this patent should be limited. Satco’s

  arguments regarding “directly and indirectly” are unsupported and should be rejected.

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                  B.      “converter” terms

          The parties agree that the “converter” terms were well-known and are not limited to Satco’s

  proposed “typical[]” topologies. Resp. br. at 45-46. Satco argues that its “exemplary topologies”

  “are non-limiting examples meant to assist the jury in understanding a well-known class of devices

  that is familiar to a POSITA but likely is not familiar to a lay juror.” Resp. br. at 45-46. But Satco’s

  expert, Dr. Shackle, agrees that the exemplary topologies do not themselves provide any helpful

  guidance where he admits that the jury would require the assistance of expert testimony to

  understand those topologies. Ex. 21, 163:8-11. Thus, the Court should decline to construe the

  “converter” terms, as doing so is unhelpful and runs the risk of improperly suggesting that these

  converters are limited to particular topologies not required by the claims. See Takeda Pharm. Co.

  v. Mylan, Inc., No. 12 Civ. 24, 2012 U.S. Dist. LEXIS 148196, at *4-5 (S.D.N.Y. Oct. 11, 2012)

  (“Claim construction ‘is not an obligatory exercise in redundancy,’ and thus, if the parties have no

  actual dispute over the ordinary meaning of such a term, the court is not obligated to construe it.”).

          V.      THE ʼ604 PATENT

                  A.      “fastening means”

          There is no dispute that column 5, lines 18-24 of the ’604 Patent lists structures—including

  “mechanical fasteners,” “magnetic mounting systems,” and “adhesives”—that are explicitly called

  “fastening means.” Yet the parties disagree on whether those structures are clearly linked to the

  “fastening means” limitation in Claim 1. In an effort to narrow the limitation and generate

  noninfringement arguments, Satco responds in the negative. But the intrinsic and extrinsic

  evidence demonstrate that the required link exists, so Signify’s proposal should be adopted.

          As explained earlier, “[w]hile the specification must contain structure linked to claimed

  means, this is not a high bar . . . . [T]he corresponding structure of the limitation must be disclosed

  in the written description in such a manner that one skilled in the art will know and understand

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  what structure corresponds to the means limitation.” Biomedino, 490 F.3d at 950 (emphasis added).

  Signify’s expert testified that a POSITA would have understood that “screws, bolts rivets or the

  like, magnetic mounting systems, adhesives for example, pressure sensitive tape, glue or epoxy or

  the like” correspond to Claim 1’s “fastening means.” Op. br., Ex. 8 at ¶¶ 77-81. Satco maintains

  that adhesives should not be included. But failing to include “adhesives” (a structure identified in

  column 5, lines 18-24) would read out dependent Claim 12, which contemplates the use of

  adhesives as a “fastening means.” Op. br. at 42-43. A POSITA would therefore “know and

  understand” that the “fastening means” in Claim 1 must include the “fastening means” described

  in column 5, lines 18-24.

         The prosecution history also supports Signify’s proposed construction. Prosecution history

  can supply the clear link between a “means” term and its corresponding structure(s). See, e.g., Via

  Vadis, LLC v. Blizzard Entm’t, Inc., 815 F. App’x 39, 45 (Fed. Cir. 2020). During prosecution of

  the ’604 Patent, the Examiner allowed Claim 1 over prior art reference U.S. Pub. No.

  2003/0058650 (“Shih ’650”). Ex. 23. In the Notice of Allowability, the Examiner explicitly

  recognized that an “adhesive” is a structure that corresponds to Claim 1’s “fastening means”:




  Ex. 24 at 2 (highlighted). The construction of “fastening means” should encompass the Examiner’s

  reasons for allowance. See Nazomi Commc’ns, Inc. v. ARM Holdings, PLC, 403 F.3d 1364, 1370

  (Fed. Cir. 2005).

         Satco’s rejoinders are unavailing. First, Satco incorrectly argues that the “fastening means”

  in column 5, lines 18-24 is a “different fastening means” “used to perform an entirely different

  function”—namely, “mounting the light-emitting modules to mounting systems such as a track.”


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  Resp. br. at 15-16. Yet Satco misunderstands the relevant disclosure. The specification states that

  “[t]he housing element comprises fastening means to secure the various components of the light-

  emitting module together as well optionally providing support to the cable system.” Ex. 6, 7:25-

  28 (emphasis added). The word “optionally” signals that the “fastening means” described in

  column 5, lines 18-24 might—or might not—support the cable system. Id. Satco’s urging that the

  “fastening means” in column 5, lines 18-24 must “perform an entirely different function”

  contradicts the specification, which describes the “fastening means” as doing something more.

         Second, Satco contends that the “fastening means” described in column 5, lines 18-24 does

  not achieve the claimed function of “detachably coupling the housing element to the heat

  dissipating element.” Resp. br. at 16-17. But this argument relies on a deft substitution of the

  claimed function. Though Satco has already agreed that the term’s claimed function is “detachably

  coupling the housing element to the heat dissipating element” (see Resp. br. at 14), Satco and its

  expert now recast the claimed function as having additional requirements: a “re-attachable,”

  “releasable,” “convenient,” and non-auxiliary connection. Resp. br. at 16-18; Ex. 20, 76:23- 77:1,

  80:15-19, 89:11-14, 90:20-23. Satco is simply trying to “raise the bar”: it is importing additional

  limitations into the claimed function in order to argue that the structures in column 5, lines 18-24

  cannot perform that function. The Court should reject this tactic.

         As to the term “re-attachable,” Satco’s expert insists that this is a requirement of the claim

  language “detachably coupling.” Ex. 20, 90:20-23. But “re-attachable” requires more than

  “detachable”: the former implies that after being detached, the “fastening means” be used again

  to re-couple the “housing element” to the “heat dissipation element.” It is improper to import a

  limitation into a claim where the limitation has no basis in the intrinsic record. See, e.g.,

  WesternGeco, 889 F.3d at 1323-24.



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         As to the term “releasable,” Satco violates the doctrine of claim differentiation. “In the

  most specific sense, ‘claim differentiation’ refers to the presumption that an independent claim

  should not be construed as requiring a limitation added by a dependent claim.” Curtiss-Wright

  Flow Control Corp. v. Velan, Inc., 438 F.3d 1374, 1380 (Fed. Cir. 2006). Claim 11 of the ’604

  Patent is dependent on Claim 1 and adds the limitation of a “releasable” connection: “the housing

  element is formed from flexible material for releasably connecting to the heat dissipation

  element.” Ex. 6, Cl. 11. The “fastening means” term is in Claim 1, so the Court should decline to

  construe the function to add the limitation of a “releasable connect[ion].”

         As to the terms “convenient” and non-auxiliary, Satco relies on statements regarding the

  “technical effect” of the claimed invention in European and Canadian family members of the ’604

  Patent. But the Court should give these statements little to no weight because they are from foreign

  prosecution, which has different legal and procedural requirements for obtaining patent protection.

  See AIA Eng’g Ltd. v. Magotteaux Int’l S/A, 657 F.3d 1264, 1279 (Fed. Cir. 2011) (explaining that

  Federal Circuit precedent “cautions against indiscriminate reliance on the prosecution of

  corresponding foreign applications in the claim construction analysis”).

         If the Court considers these statements—which it should not—then Satco’s effort to import

  additional limitations should still be rejected. Absent a clear intention to limit a claim, an

  invention’s advantages should not be imported into the claim’s construction. See Brookhill-Wilk

  1, LLC v. Intuitive Surgical, Inc., 334 F.3d 1294, 1301 (Fed. Cir. 2003) (“Advantages described in

  the body of the specification, if not included in the claims, are not per se limitations to the claimed

  invention.”). The “technical effect” statements identified by Satco are no more than descriptions

  of the invention’s advantages, and Satco has identified nothing that demonstrates intent to limit

  the invention to these advantages. In fact, the record shows the opposite. In the Canadian



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  prosecution, the applicant used the phrase “e.g.” Resp. br., Ex. D at 3 (“The connection is also

  convenient, e.g. due to the fact that . . . there is no need of auxiliary fastening means.”). This is

  exemplary language, so the corresponding description should not be imported into the claim’s

  construction. See Silicon Graphics, Inc. v. ATI Techs., Inc., 607 F.3d 784, 792 (Fed. Cir. 2010).

         VI.     THE ’525 PATENT

                 A.      “self-inductance”

         It is not disputed that “self-inductance” would have had a plain and ordinary meaning to a

  POSITA. But that does not resolve the parties’ disagreement. The Federal Circuit has directed that

  courts must examine the intrinsic record “to determine whether the patentee acted as his own

  lexicographer of a term that already has an ordinary meaning to a person of skill in the art.” Merck

  & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir. 2005). The ’525 Patent’s

  specification demonstrates that the patentee acted as his own lexicographer to define “self-

  inductance” as a component that is distinct from the transformer of the first and second series

  circuit. Op. br. at 44-45. This definition makes sense in the context of the specification, which

  indicates that the claimed “self-inductance” has a value that is 30 times higher than the self-

  inductance of a transformer. Id.

         During his deposition, Satco’s expert, Dr. Shackle, also acknowledged that the ’525

  Patent’s specification uses “self-inductance” in a manner consistent with Signify’s proposal. The

  ’525 Patent’s specification describes a prior art “switching arrangement” in U.S. 5,682,306 (“the

  ’306 Patent”). Ex. 4, 1:17-36; Ex. 25 (U.S. 5,682,306). In that “switching arrangement,” the ’525

  Patent states that “the self-inductance forms a first energy storage element.” Ex. 4, 1:21-22. In this

  disclosure, Dr. Shackle admitted that the ’525 Patent used the term “self-inductance” to refer to an

  inductor; not a transformer. Ex. 21, 171:1-6, 175:24-176:2.




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         The ’525 Patent’s prosecution history also supports Signify’s proposed construction.

  During prosecution, the Examiner rejected Claim 1 as disclosed by the Ortiz patent. Ex. 26

  (Applicant’s Amendment and Arguments of June 30, 2005) at 8; Ex. 27 (Ortiz). In response, the

  Applicant argued that Ortiz did not disclose Claim 1’s limitations relating to a transformer. Id.

  (“Ortiz does not even teach . . . the particular recitation of independent claim 1 of: the inductive

  winding forms a secondary winding of a transformer . . . .”). If the Applicant understood “self-

  inductance” in Claim 1 to be the inductance of a transformer (as Satco contends), then the

  Applicant would have argued that because Ortiz failed to disclose a transformer, it also failed to

  disclose “self-inductance.” But the Applicant did not argue that Ortiz failed to disclose “self-

  inductance.” See id. This is because Ortiz disclosed a “resonant inductor 27” and “filter inductor

  28,” which are “inductive circuit component[s] distinct from the claimed transformer”—i.e.,

  Signify’s proposal for “self-inductance.” Thus, the Applicant understood that Claim 1’s “self-

  inductance” should be construed consistent with Signify’s proposal.

         Satco’s argues that because Claim 3 uses “self-inductance” to describe the inductance of

  the transformer’s secondary windings, then “self-inductance” in Claim 1 must also describe the

  inductance of the transformer’s primary windings. Resp. br. at 47. But “the same claim term can

  have different constructions depending upon the context of how the term is used within the claims

  and specification.” Aventis Pharms., Inc. v. Amino Chems. Ltd., 715 F.3d 1363, 1374 (Fed. Cir.

  2013). As explained above, the context of the ’525 Patent requires that “self-inductance” in Claim

  1—the claim actually in dispute here—means “an inductive circuit component distinct from the

  claimed transformer.” Moreover, the Court should adopt Signify’s proposal even if it does consider

  other claims. Claim 5 (which, like Claim 3, is not asserted here) requires “a transformer,” and

  Claim 7 (which depends on Claim 5) “further comprises a self-inductance.” Ex. 4, Cls. 5, 7



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  (emphasis added). If “self-inductance” in Claim 7 can refer to a transformer (as Satco contends),

  then Claim 7 would not add anything to Claim 5—effectively reading out Claim 7.

         Satco also relies on expert testimony and a dictionary definition to improperly argue that

  “[a] proper evaluation requires considering all of the self-inductance, rather than arbitrarily

  excluding the self-inductance of the primary winding per Signify’s construction.” Resp. br. at 48-

  49 (citing Shackle Decl. at ¶¶ 182-87); id. at 46 n.12 (citing Ex. M). But Satco and its expert are

  substituting their own view of how the invention should operate for what the inventors actually

  invented and claimed. This defies the Federal Circuit’s instruction that “extrinsic sources like

  dictionaries and expert testimony cannot overcome more persuasive intrinsic evidence.” Finisar

  Corp. v. DirecTV Grp., Inc., 523 F.3d 1323, 1328 (Fed. Cir. 2008) (emphasis added). It would be

  legal error to overlook the intrinsic record and (as Satco requests) credit a dictionary-based

  definition.

         Finally, relying on the testimony of Dr. Shackle, Satco argues that the “L” in Figures 1 and

  2 could represent the inductance of a transformer’s primary windings because “[t]his is a common

  way to represent the leakage inductance of a transformer in a circuit diagram.” 8 Resp. br. at 48

  (citing Shackle Decl. at ¶¶ 182-87). Yet Dr. Shackle’s opinion assumes that Figures 1 and 2

  illustrate a transformer as a “lumped-sum equivalent circuit.” See Shackle Decl. at ¶ 183; Ex. 21,

  178:4-180:1. And Dr. Shackle admitted that assumption was flawed. During his deposition, Dr.

  Shackle acknowledged that Figure 1 either “can’t be a lumped-constant equivalent circuit” or is “a

  rather poorly drawn lumped-constant equivalent circuit.” Id. at 183:5-12; see also id. at 182:4-16



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    Satco suggests that Signify erred by suggesting that Ls is a “self-inductance” of transformer T.
  Resp. br. at 48 (citing Op. br. at 45). But the transformer includes both a primary and a
  secondary winding. See Ex. 4, Cl. 1; see also id. at Abstract, 1:44-48, 2:49-44. Thus, Ls does
  represent a “self-inductance” of a transformer. Signify committed no error.


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  (admitting that Figure 1 “doesn’t look much like a lumped-constant equivalent circuit”). This

  flawed assumption infects Dr. Shackle’s testimony regarding “leakage inductance,” so the Court

  should give that testimony no weight.

         VII.    THE ’929 PATENT

                 A.      “diffuser disposed over the housing”

         Due to space constraints, Signify rests on its opening brief.

                 B.      “… a consistent level of light output to the different portions of the
                         diffuser”

         Satco alleges this term is indefinite because of the words “consistent” and “different,” but

  terms of degree are not inherently indefinite. Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364,

  1370 (Fed. Cir. 2014). First, Satco ignores that “consistent” has a well understood and plain and

  ordinary meaning—i.e., similar or comparable—as recognized by other courts. See Advanced

  Neuromodulation Sys., Inc. v. Advanced Bionics Corp., No. 4:04-cv-00131-RAS, 2005 U.S. Dist.

  LEXIS 47694, at *26 (E.D. Tex. Sept. 29, 2005) (construing “consistent with” as “similar to and

  compatible with”).

         Satco’s expert admitted the Asserted Claims of the ’929 Patent relate to Figure 15. Ex. 20,

  39:22-25. When describing Figure 15, the ’929 Patent describes at least three mechanisms for

  providing a consistent level of light output to different portions of the diffuser: (i) a pyramidal

  element 1510, (ii) curved shapes described by a 2nd order equation, such as a parabola, and/or (iii)

  a Lambertian surface. Ex. 7, 35:20-36:47.

         Satco’s expert admitted that a POSITA would understand that these passages in column 35

  refer to uniform light as measured by photometry (i.e., perceived brightness to the human eye) in

  lumens. Ex. 20 at 129:12-20, 131:25-132:4. Thus, a consistent level of light output refers to a

  similar or comparable level of light as perceived brightness to the human eye.



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          Second, this term requires that different portions of the diffuser have consistent levels of

  light. If any different portions of the diffuser have a consistent level of light, then the term is

  satisfied.

                 C.       “disposed in an architectural environment”

          The ’929 Patent discloses that the claimed tile lights can be disposed in numerous

  architectural environments such as walls, ceilings, doors, windows, or floors. Ex. 7 at abstract,

  31:63-65, 32:13-15, 34:60-62, 36:54-57, 46:29-33. The ’929 Patent further discloses that the

  claimed tile lights can “serve as a wall, door, a ceiling, a floor, an elevator wall, or other

  construction units.” Id. at 58:33-35.

          Satco attempts to limit Claim 23 to the interior of a building, but an architectural

  environment is not so limited. While the specification refers to “building interiors (commercial

  and residential),” (Id. at 31:21-22 36:56 46:29-31) the specification also explicitly refers to

  building exteriors. Id. at 36:56-57, 46:29-31. If the applicants intended to limit Claim 23 to

  building interiors, they would have done so by claiming a “building interior,” which they did not.

   Dated: January 4, 2021                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         On January 4, 2021, I electronically submitted the foregoing document with the clerk of

  court for the U.S. District Court, Eastern District of New York, using the electronic case filing

  system of the court. I hereby certify that I have served all counsel of record electronically or by

  another manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                        /s/ Thomas W. Davison
                                                        Thomas W. Davison




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